Case 2:04-cr-20095-SH|\/| Document 105 Filed 06/16/05 Page 1 of 2 Page|D 128

m THE UNITED sTATES D:STRICT coURT F"£`D E"*’ __ :").C,
FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED sTATES oF AMERICA, CU§M.MS.UsucT

W.D. o:= m MEMPHJS`
vs. No. 04-20095-01-Ma
NAG: ALKABSH,

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This Cause came to be heard on June 13, 2005, the United
States Attorney for this district, Stephen Parker, appearing for
the government and the defendant, Nagi Alkabsh, appearing in
person and with counsel, James Marty.

With leave of court, the defendant withdrew the not guilty
plea heretofore entered and entered a plea of guilty to Count l
of the Indictment.

Plea Colloquy was held and the court accepted the guilty
plea.

SENTENCING in thiS CaS€ iS SET for WEDNESDAY, SEPTEMBER 14,
2005, at 9:15 A.M., in Courtroom No. 2, on the 11th floor before
Judge Samuel H. Mays, Jr.

Defendant is allowed to remain released on the present bond.

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ENTERED this day of June, 2005.

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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With Hu|e 55 and/er 32(b) FHCrP on " ` 6

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
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J ames O. Marty

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Honorable Samuel Mays
US DISTRICT COURT

